Case 2:93-cv-00902-RBS Document 542 Filed 02/19/19 Page 1 of 3 PageID# 4597




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Norfolk Division

R.M.S. TITANIC, INC.,
successor-in-interest to
Titanic Ventures, limited partnership,
               Plaintiff,

v.                                                            Civil Action No. 2:93cv902

THE WRECKED AND ABANDONED VESSEL,
ITS ENGINES, TACKLE, APPAREL,
APPURTENANCES, CARGO, ETC., LOCATED
WITHIN ONE (1) NAUTICAL MILE OF A POINT
LOCATED AT 41 43/ 32’ NORTH LATITUDE
AND 49 56’ 49” WEST LONGITUDE,
BELIEVED TO BE THE R.M.S. TITANIC
in rem,
             Defendant.

         NOTICE OF CLOSING OF SALE OF STOCK OF RMS TITANIC, INC.

       Intervenor Premier Acquisition Holdings LLC (“PAHL”) hereby provides notice to the

Court that on February 13, 2019, PAHL closed on the purchase of substantially all of the assets

of Premier Exhibitions, Inc. and certain of its debtor and non-debtor affiliates as set forth in the

Asset Purchase Agreement dated as of June 14, 2018, by and among (i) Premier Exhibitions,

Inc., a Florida corporation, (ii) Arts and Exhibitions International, LLC, a Florida limited liability

company, (iii) Premier Exhibition Management LLC, a Florida limited liability company, (iv)

Premier Exhibitions NYC, Inc., a Nevada corporation, (v) Premier Merchandising, LLC, a

Delaware limited liability company, (vi) Premier Exhibitions International, LLC, a Delaware

limited liability company, (vii) Dinosaurs Unearthed Corp., a Delaware corporation; (viii)

DinoKing Tech Inc. d/b/a Dinosaurs Unearthed, a company formed under the laws of British

Columbia, (ix) RMS Titanic, Inc., a Florida corporation (“RMST”), solely for purposes of

Article III, Article V, Article VII and Article VIII of the Asset Purchase Agreement, and PAHL,
Case 2:93-cv-00902-RBS Document 542 Filed 02/19/19 Page 2 of 3 PageID# 4598




as amended by Amendment No. 1 to Asset Purchase Agreement dated as of September 14, 2018

(the “APA”), including 100% of the stock of plaintiff RMST in accordance with the approval

granted by this Court in its December 21, 2018 Order (Dkt. No. 540) (the “Approval Order”).

       In advance of the closing, PAHL and the Sellers (as defined in the APA) entered into

Amendment No. 2 to the APA, a copy of which is attached hereto as Exhibit A. Amendment

No. 2 amended the definition of “Excluded Assets” set forth in Section 1.1(b) of the APA to

include any licenses registered in the name of any Seller with the Federal Communications

Commission (the “FCC”), including Business Radio Station WQTA611 licensed to Premier

Exhibitions, Inc. Pursuant to paragraph I of the Approval Order, this amendment does not

remove, circumvent or diminish the Court’s admiralty jurisdiction in this case, but rather

provides only that PAHL did not assume any of the Sellers’ FCC licenses.

                                           Respectfully submitted,

                                           PREMIER ACQUISITION HOLDINGS LLC

                                           By Counsel:

                                                   /s/ David G. Barger
                                           David G. Barger, VSB #21652
                                           Attorney for Intervenor Premier Acquisition
                                           Holdings LLC
                                           GREENBERG TRAURIG, LLP
                                           1750 Tysons Boulevard, Suite 1000
                                           McLean, Virginia 22102
                                           Tel: (703) 749-1300
                                           Fax: (703) 749-1301
                                           E-Mail: Bargerd@gtlaw.com




                                              2
Case 2:93-cv-00902-RBS Document 542 Filed 02/19/19 Page 3 of 3 PageID# 4599




                                   CERTIFICATE OF SERVICE

        I hereby certify that on this 19th day of February, 2019, a copy of the foregoing has been

electronically filed with the Clerk of the Court using the CM/ECF system, which will send

electronic notification of such filing to all counsel of record.


                                                       /s/ David G. Barger
                                               David G. Barger, VSB #21652
                                               Attorney for Intervenor Premier Acquisition
                                               Holdings LLC
                                               GREENBERG TRAURIG, LLP
                                               1750 Tysons Boulevard, Suite 1000
                                               McLean, Virginia 22102
                                               Tel: (703) 749-1300
                                               Fax: (703) 749-1301
                                               E-Mail: Bargerd@gtlaw.com




FTL 112103900v1




                                                   3
